                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                     CRIMINAL DOCKET NO. 5:05cr235-6-RLV


UNITED STATES OF AMERICA         )
                                 )
            vs.                  )                     SCHEDULING ORDER
                                 )
JOSEPH EDWARD BROWN, JR.         )
                                 )
           Defendant.            )
________________________________)


      THIS MATTER is before the Court on an Order filed on March 10, 2014, granting

Defendant’s Motion To Vacate, Set Aside, or Correct Sentence under 28 U.S.C. §

2255, (Doc. No. 1) in case 5:12CV120, filed August 17, 2012.

      IT IS, THEREFORE, ORDERED that:

      The Bureau of Prisons and the United States Marshals Service is hereby

ORDERED to transport and produce the body of JOSEPH EDWARD BROWN, JR.,

(USM# 20543-058), for re-sentencing on May 5, 2014, at 2 PM, before the Honorable

Richard L. Voorhees, in the Western District of North Carolina, Statesville Courthouse,

200 West Broad Street, 2nd Floor Courtroom, Statesville, North Carolina, not later than

April 18, 2014, and upon completion of the re-sentencing hearing, Defendant is to be

returned to the custody of the Bureau of Prisons.

      The Clerk is directed to certify copies of this Order to the United States Attorney,

Defendant’s Counsel, the United States Marshal Service, and the United States

Probation Office.

      IT IS SO ORDERED.




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                             Signed: March 10, 2014




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